239 F.2d 851
    LOCAL NO. 332, INTERNATIONAL BROTHERHOOD OF TEAMSTERS, etc., and Edward Goram, Basil Meeker and Hollis Carson, Individually and as Members of Said Local Union, Appellants,v.GRAND TRUNK WESTERN RAILROAD COMPANY, Appellee.
    No. 12854.
    United States Court of Appeals Sixth Circuit.
    December 12, 1956.
    
      Saul Cooper, Milwaukee, Wis., George S. Fitzgerald, Detroit, Mich., for appellants.
      Carl H. Smith, Sr., Bay City, Mich., Forbes B. Henderson, Detroit, Mich., for appellee.
      Before ALLEN, MARTIN and McALLISTER, Circuit Judges.
      PER CURIAM.
    
    
      1
      This case came on to be heard on the oral arguments and the briefs of attorneys, on the record, the agreed statement and the judgment in the case;
    
    
      2
      And it appearing that District Judge Freeman did not enjoin peaceful picketing but only enjoined and restrained the appellant labor union and its members and the named individual appellants from interfering with the access of the appellee railroad company, over its rails and connecting tracks, to the industrial plant involved in this litigation; from loitering and congregating or marching in or near the right-of-way of the appellee leading to the plant, in such manner and in such numbers as to interfere with or be intended to interfere with the lawful ingress and egress to and from the plant by the appellee carrier in the lawful discharge of its duties of transporting by rail commodities in interstate commerce; and by requiring appellants to keep a sufficient distance from the tracks of the appellee so as not to interfere with the safe operation of its cars or locomotives over the aforementioned tracks;
    
    
      3
      And it appearing that the injunction so issued is not in violation of the Norris-LaGuardia Act, U.S.C.A., Title 29, §§ 101-115, or of any other applicable law;
    
    
      4
      The judgment of the United States District Court is affirmed; and it is so ordered.
    
    